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                           IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA



LARRY KLAYMAN

                      Plaintiff,                Civil Action No.: 1:18-cv-01579
v.

HAMILTON FOX, et al.,

                      Defendants.

    PLAINTIFF’S REPLY TO OPPOSITION TO PLAINTIFF’S MOTION FOR
RECONSIDERATION OF THE COURT’S ORDER GRANTING MOTION TO DISMISS
              AND FOR RECUSAL OR DISQUALIFICATION

        Mr. Klayman hereby submits the following in reply to Defendants’ Opposition to Motion

for Reconsideration and Recusal or Disqualification.

        Defendants’ opposition raises nothing that warrants denial of Mr. Klayman’s motion.

Indeed, all it does is raise the question of why Defendants, who are to also respect and represent

those that they attempt to prosecute, are so staunchly opposing Mr. Klayman’s constitutional and

due process rights to have his day in court and prosecute his claims. This wreaks of the same

selective political and gender-based prosecution that formed the basis for Mr. Klayman’s claims

in the first place.

        Indeed, it has only recently come to Mr. Klayman’s attention that this is not the first time

that the Office of Bar Disciplinary Counsel (“ODC”), and specifically Julia Porter (“Ms.

Porter”), who is Deputy Bar Counsel and thus a supervisor, has engaged in this type of

misconduct. Ms. Porter previously prosecuted JP Symkowicz (“Mr. Symkowicz”) over the

course of 13 years, 6 months, and 30 days regarding Mr. Symkowicz’s firm’s representation of

an elderly woman. Through false statements and other misconduct, Mr. Symkowicz was kept in




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the disciplinary proceedings despite the fact that he never even spoke to the client, whose

representation was undertaken by his father. Specifically Ms. Porter on behalf of ODC made

numerous false statements to the Board of Professional Responsibility and the District of

Columbia Court of Appeals in a knowingly fraudulent attempt to try to implicate                  Mr.

Symkowicz in with his father (who was also finally found innocent), despite there being

absolutely no basis to do so. After Ms. Porter failed to get the result she wanted and Mr.

Symkowicz was found not to have acted unethically, she apparently had her former ODC

colleague Michael Frish, incredibly now a law professor at Georgetown Law School, tarnish and

smear Mr. Symkowicz ‘s reputation by publishing defamatory articles. Not coincidentally, Mr.

Symkowicz is the now the only Republican city council member in Washington D.C. The full

“whistleblower report” is attached hereto as Exhibit 1.

       This type of misconduct by Office of Bar Disciplinary Counsel (ODC) is what this Court

is protecting. Tellingly, this Court dismissed Mr. Klayman’s claims without prejudice, which can

only be explained by the fact that it knew that the order was not justified, yet still felt compelled

to shield ODC from even having to participate in discovery, in order to prevent the facts from

coming out even more specifically. The Court cannot have it both ways by trying to give

Plaintiff Klayman the impression of impartiality – which impartiality Mr. Klayman questioned

from the outset but was reassured otherwise by the presiding judge otherwise - while protecting

the ODC and the other Defendants from even having to participate in discovery.

     Put simply, Defendants are not above the law and cannot and should not be shielded from

even discovery, creating the appearance of a politically based and biased cover-up, for the

compelling reasons set forth in Plaintiff Klayman’s Motion for Reconsideration and Recusal.

I.     MOTION FOR RECONSIDERATION




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       Mr. Klayman seeks reconsideration pursuant to Fed. R. Civ. P. 60(b), which states, in

relevant part, “[o]n motion and just terms, the court may relieve a party or its legal representative

from a final judgment, order, or proceeding for the following reasons: (1) mistake, inadvertence,

surprise, or excusable neglect . . . (6) any other reason that justifies relief.” As set forth in Mr.

Klayman’s motion, the Court has made crucial, egregious legal errors that mandate

reconsideration.

       However, Defendants erroneously assert that Rule 60(b)(1)’s mistake provision only

applies change of controlling law during the time between the entry of judgment and the filing

the Rule 60 motion. Defendants only cite a non-controlling District Court’s interpretation of the

rule. See Bestor v. FBI, 539 F. Supp. 2d 324, 328 (D.D.C. 2008). However, this is not the

universal standard that Courts have applied. For instance, the U.S. Court of Appeals for the Fifth

Circuit expressly allows for motions to be made under Rule 60(b)(1) for judicial errors. See

Lairsey v. Advance Abrasives Co., 542 F.2d 928 (5th Cir. 1976) (allowing motions to be made

under Rule 60(b)(1) for a “fundamental misconception of law” by trial courts.) See also

Fackelman v. Bell, 564 F.2d 734 (5th Cir. 1977) (“The law of this circuit permits a trial judge, in

his discretion, to reopen a judgment on the basis of an error of law.”)

       In any event, nothing set forth by Defendants in their opposition changes the fact that Mr.

Klayman’s motion is also brought under Rule 60(b)(6), which allows for reconsideration on “any

other reason that justifies relief.” Here, the egregious errors clearly constitute “extraordinary

circumstances” to justify the invocation of this provision. Indeed, the Court’s clearly erroneous

finding that Mr. Klayman failed to plead bad faith regarding the Younger doctrine, in conjunction




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with the Court itself incredibly running through multiple specific allegations of bad faith pled1 in

the Amended Complaint constitutes the type of extraordinary error that “justifies relief.”

       Beyond the Court’s recounting of the specific allegations as to bad faith, which in and of

itself should have been adequate at the pleading stage for this matter to proceed to discovery, Mr.

Klayman also alleges that Defendants unilaterally resurrected Mr. Sataki’s Complaint after it had

been abandoned by employing investigators to literally hunt down Ms. Sataki in order to get her

to continue her complaint against Mr. Klayman. Am. Comp. ¶ 36. Furthermore, the Amended

Complaint sets forth that Defendant Herman brazenly and openly admitted her bias and animus

against Mr. Klayman due to his political beliefs, activism, free speech, and gender when she

curtly and in a hostile manner, on more than one occasion, stated to Mr. Klayman, “I [we] don’t



1 The Court details numerous instances of bad faith pled in the Amended Complaint before
finding that the Amended Complaint did not plead bad faith:

       First, that Plaintiff has “brought lawsuits against Hillary Clinton, Barack Obama,
       George W. Bush, and other politicians and government officials;” “conceived and
       founded . . . Judicial Watch, Inc. and Freedom Watch, Inc.;” and “r[an] for the
       U.S. Senate in the Florida Primary.” Dkt. 10 at 9 (Am. Compl. ¶ 41). Second, that
       two of the four individual defendants “donated defendants “donated significant
       sums of monies to Hillary Clinton and Barack Obama as well as other liberal
       Democrats.” Id. (Am. Compl. ¶ 42). Third, that one of the members of “the
       hearing committee that is adjudicating the Sataki Complaint” signed a complaint
       “seeking to discipline” Kellyanne Conway “for her political beliefs” and “to . . .
       chill[] . . . free speech on behalf of President Donald J. Trump.” Id. 19–20 (Am.
       Compl. ¶¶ 89-92). Fourth, that one of the individual defendants allegedly has a
       conflict of interest, unrelated to any political activity, id. at 15 (Am. Compl. ¶ 68),
       and acted in a hostile manner towards Plaintiff at a meeting, id. at 15–16 (Am.
       Compl. ¶¶ 69–75); another individual defendant acted in a “hostile” manner and
       with a “disrespectful demeanor” towards Plaintiff, id. at 12 (Am. Compl. ¶¶ 52–
       56); and yet another individual defendant suggested that Plaintiff resign from the
       bar to avoid “embarrassment and bad publicity,” id. at 13–14 (Am. Compl. ¶¶ 60–
       61). Finally, that, in Plaintiff’s view, the Sataki Complaint is “clearly non-
       meritorious,” as evidenced by the fact that the Florida and Pennsylvania Bars
       summarily rejected the same charges. Id. at 17 (Am. Compl. ¶ 80). ECF No. 33 at
       19-20.




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like the way you practice law.” Am. Comp. ¶ 54. When Mr. Klayman advised her at the same

meeting that The Florida Bar and the Pennsylvania Bar had summarily dismissed Ms. Sataki’s

claims at the time seven years ago, she on behalf of Defendants stated that “we couldn’t care

less.” Am. Comp. ¶ 56. The same bad-faith was exhibited by Defendant Fox during a May 11,

2018 meeting:

       From the outset, Defendant Fox immediately and belligerently stated that he was
       not going to hear anything about or discuss dismissal of the Specification of
       Charges, but that Mr. Klayman could simply produce the evidence of misconduct
       and unethical and illegal behavior.
       Mr. Klayman calmly responded that he would not be dictated to as to what he
       could discuss. This prompted Defendant Fox to stand up threateningly, lurch
       towards Mr. Klayman, and scream “this meeting is over.” He demanded that Mr.
       Klayman “leave [his] office.”
       When Mr. Klayman calmly got up from his chair, he indicated that this gross
       prosecutorial misconduct would leave him no recourse but to file this instant
       Complaint and now Amended Complaint, as well as bar grievances which are
       attached hereto as Exhibit 1 and are incorporated herein by reference.
       Defendant Fox then approached Mr. Klayman at the door, as if to stalk him and
       screamed, “I welcome your complaint,” adding in a hostile voice showing great
       animus, “do you seriously believe that I would not welcome the opportunity
       through discovery to show how you practice law?” Am. Comp. ¶¶ 71-74.

And, lastly, “at the hearing in the Sataki matter, Defendants, acting in concert, by and through

Defendant Smith, openly admitted that their motivation in prosecuting bar complaints against

Mr. Klayman is because he had filed large and complex lawsuits against Hillary Clinton, other

Democrats, and other related parties, persons, and entities.”

       Thus, the bottom line here is simple. Mr. Klayman should have been allowed to take

discovery. It was impossible for Mr. Klayman to plead with any more specificity than what was

pled in the Amended Complaint, which specificity this Court has expressly recognized in its

order granting dismissal. Any further information could only have been gleaned through

discovery in the form of ODC’s internal documents and depositions. In erroneously finding lack

of specificity while denying Mr. Klayman even the right to take discovery, the Court has, in




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essence, told Mr. Klayman that it does not intend to allow Mr. Klayman to pursue any claims

against Defendants. This is not the Court’s role and is clearly an “extraordinary” error that

mandates reconsideration.

II.       MOTION FOR DISQUALIFICATION

          Mr. Klayman moved for disqualification pursuant to 28 U.S.C. § 455 and 28 U.S.C. §

144. Indeed, it is undeniable that an impartial judiciary is a fundamental component of the

system of justice in the United States. The right to a “neutral and detached judge” in any

proceeding is protected by the U.S. Constitution and is an integral part of maintaining the

public’s confidence in the judicial system. Ward v. City of Monroeville, 409 U.S. 57, 61-62

(1972).

          Defendants falsely and erroneously assert that Mr. Klayman’s motion to disqualify was

not timely. There is no law to support this conclusion. Defendants apparently cherry-pick

language stating that “…section 144 requires the affidavit to be filed "not less than ten days

before the beginning of the term at which the proceeding is to be heard, [unless] good cause shall

be shown…,” SEC v. Loving Spirit Found., 364 U.S. App. D.C. 116 (2004), while conveniently

omitting the following sentence, which states, “the statute says nothing about what the timeliness

requirement means where, as in this case, the recusal motion rests on events occurring after

proceedings began. In such circumstances, some courts have required the affidavit to be filed "at

the earliest moment." Id. Here, it is clear that the recusal motion is based upon this Court’s order

dismissing Mr. Klayman’s claims, which occurred on June 5, 2019. Mr. Klayman’s motion was

filed a mere two days later, on June 7, 2019. There is clearly no delay 2.



2Furthermore, Mr. Klayman includes at the bottom a certification of good faith, and re-attaches
his affidavit in support of recusal in order to ensure that this motion is decided on the merits.




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       Mr. Klayman’s motion clearly set forth exactly how this Court has allowed its political

partisanship to bias and influence its decision-making. The Court strained to find a way to

prevent Mr. Klayman from taking discovery of ODC, despite there being no basis in law or fact

to do so. The incredibly specific Amended Complaint details exactly how and why Defendants

have abused and exceeded their authority to specifically target and try to remove Mr. Klayman

from the practice of law. The Court even acknowledged the specific allegations of bad faith and

unconstitutional illegality pled in the Amended Complaint, ECF No. 33 at 19-20, yet still found

the Amended Complaint to be conclusory, with a heads Defendants win tail Mr. Klayman loses

approach to jurisprudence. This wreaks of bias, prejudice, and protectionism, and as such this

Court must recuse itself or be disqualified pursuant to 28 U.S.C. § 455 and 28 U.S.C. § 144 and

vacate all of its orders so that this matter may proceed before a truly independent judicial officer.

III.   CONCLUSION

       Based on the foregoing, Plaintiff Mr. Klayman respectfully requests that this Court grant

the motion for reconsideration and allow this matter to proceed to discovery. If it is not willing to

do so, it must, at a minimum, recuse itself and vacate all of its orders, as it has exhibited deep-

seated bias and prejudice that has made independent judgment impossible.

Dated: June 26, 2019                                  Respectfully submitted,

                                                      /s/ Larry Klayman
                                                      Larry Klayman, Esq.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the court’s ECF system to all counsel of record or parties on

June 26, 2019.


                                                      /s/ Larry Klayman
                                                      Attorney

                                CERTIFICATE OF COUNSEL

       I, Larry Klayman, Esq., am counsel for Plaintiffs in this matter. I hereby certify that this

Motion and the accompanying affidavit and facts contained therein, made pursuant to 28 U.S.C.

§ 144, is being made in good faith.


                                                      /s/ Larry Klayman
                                                      Attorney




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